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                                  132728



                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 __________________________________________

 In Re: COOK MEDICAL, INC., IVC FILTERS                        Case No. 1:14-ml-2570-RLY-TAB
 MARKETING, SALES PRACTICES AND                                                  MDL No. 2570
 PRODUCTS LIABILITY LITIGATION
 __________________________________________

 This Document Relates to:

 Leonard Holling

 Civil Case # 1:22-cv-06787-RLY-TAB
 __________________________________________


        [PROPOSED] ORDER ON PLAINTIFF’S MOTION FOR LEAVE TO FILE
                SECOND AMENDED SHORT FORM COMPLAINT

        ON THIS DAY came for consideration Plaintiff Leonard Holling’s Motion to Amend and

 Leave to File a Second Amended Short Form Complaint. Having considered the Motion, the Court

 concludes the Motion should be granted and, therefore: (1) Plaintiff is hereby granted Leave to

 File a Second Amended Short Form Complaint; and (2) the Second Amended Short Form

 Complaint is hereby deemed filed.

        SO ORDERED this _____ day of _______________, 2022.




                                                    RICHARD L. YOUNG, JUDGE
                                                    United States District Court
                                                    Southern District of Indiana



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